              Case 4:20-cv-00008-AT Document 928 Filed 08/18/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ROME DIVISION


JARROD JOHNSON, individually, and               )
on Behalf of a Class of persons similarly       )
situated,                                       )   CIVIL ACTION FILE NO.:
                                                )
         Plaintiff,                             )   4:20-cv-0008-AT
v.                                              )
                                                )
3M COMPANY, et al.,                             )
                                                )
         Defendants.                            )
                                                )

                         NOTICE OF APPEARANCE AS COUNSEL



         COMES NOW Tala Amirfazli of Burr & Forman LLP, and hereby gives notice of

her appearance as additional counsel in the above-styled action on behalf of Defendant

Fibro Chem, LLC and respectfully requests that from this point forward, all notices,

correspondence, pleadings, orders and other matters relating to this action also be served

upon her at the following address:

                                        Tala Amirfazli
                                      Burr & Forman LLP
                            171 Seventeenth Street, N.W., Suite 1100
                                    Atlanta, Georgia 30363
                                   Telephone: 404-815-3000
                                   Facsimile: 404-817-3244
                                     tamirfazli@burr.com

48830617 v1
              Case 4:20-cv-00008-AT Document 928 Filed 08/18/22 Page 2 of 4




         Respectfully submitted this 18th day of August, 2022.

                                               s/Tala Amirfazli
                                               Tala Amirfazli
                                               Georgia Bar No. 532890
                                               tamirfazli@burr.com

                                               Attorney for Fibro Chem, LLC


BURR & FORMAN LLP
171 Seventeenth Street, N.W.
Suite 1100
Atlanta, Georgia 30363
Telephone: (404) 815-3000
Facsimile: (404) 817-3244




                                              2
48830617 v1
              Case 4:20-cv-00008-AT Document 928 Filed 08/18/22 Page 3 of 4




                              CERTIFICATION OF COUNSEL


         I hereby certify that the foregoing NOTICE OF APPEARANCE AS COUNSEL

has been prepared with Times New Roman, 14 point font, one of the font and point

selections approved by the Court in LR 5.1C.



                                               s/Tala Amirfazli
                                               Tala Amirfazli
                                               Georgia Bar No. 532890
                                               tamirfazli@burr.com

                                               Attorney for Fibro Chem, LLC


BURR & FORMAN LLP
171 Seventeenth Street, N.W.
Suite 1100
Atlanta, Georgia 30363
Telephone: (404) 815-3000
Facsimile: (404) 817-3244




48830617 v1
              Case 4:20-cv-00008-AT Document 928 Filed 08/18/22 Page 4 of 4




                                CERTIFICATE OF SERVICE


         I hereby certify that on this 18th day of August, 2022, I electronically filed the

foregoing NOTICE OF APPEARANCE AS COUNSEL with the Clerk of Court using

the CM/ECF system, which will automatically send email notifications of such filing to

the attorneys of record.


                                               s/Tala Amirfazli
                                               Tala Amirfazli
                                               Georgia Bar No. 532890
                                               tamirfazli@burr.com

                                               Attorney for Defendant Fibro Chem, LLC

BURR & FORMAN LLP
171 Seventeenth Street, N.W.
Suite 1100
Atlanta, Georgia 30363
Telephone: (404) 815-3000
Facsimile: (404) 817-3244




                                              4
48830617 v1
